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 8
                                     UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO DIVISION
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12   UNITED STATES OF AMERICA,                       ) CASE NO. 3:22-CR-426-JSC
                                                     )
13           Plaintiff,                              ) STIPULATION REGARDING BUSINESS
                                                     ) RECORDS
14      v.                                           )
                                                     )
15   DAVID WAYNE DEPAPE,                             )
                                                     )
16           Defendant.                              )
                                                     )
17

18           IT IS HEREBY STIPULATED AND AGREED, between plaintiff, the United States of
19 America, by its undersigned counsel, and defendant, David DePape, by his undersigned counsel, as

20 follows:

21           The following Trial Exhibits are relevant as determined by Federal Rule of Evidence 401;
22 authentic as determined by Federal Rule of Evidence 901(a); and, as applicable to Exhibits 293 and 295,

23 admissible pursuant to the business records exception to hearsay as determined by Federal Rule of

24 Evidence 803(6):

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     STIPULATION RE: BUSINESS RECORDS
     3:22-CR-426-JSC                                1
             Case 3:22-cr-00426-JSC Document 147 Filed 11/04/23 Page 2 of 2




 1                 Exhibit                       Description
                   Number
 2

 3                    12      BART videos, DEPAPE-0002184
                      13      MUNI videos, DEPAPE-0018166
 4                    15      USCP CCTV Camera 101, DEPAPE-0017785
                      16      USCP CCTV Camera 102, DEPAPE-0017786
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                      17      USCP CCTV Camera 103, DEPAPE-0017787
 6                    18      USCP CCTV Camera 104, DEPAPE-0017788
                      19      USCP CCTV Camera 105, DEPAPE-0017789
 7
                      20      USCP CCTV Camera 106, DEPAPE-0017790
 8                   293      Spokeo records, DEPAPE-0015647 – DEPAPE-0015648
 9                   295      Amazon records, DEPAPE-0015993 – DEPAPE-0016042

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            IT IS SO STIPULATED AND AGREED.
11

12 Dated:        November 4, 2023                      /s/
                                                HELEN L. GILBERT
13                                              LAURA VARTAIN HORN
                                                Assistant United States Attorneys
14

15

16               November 4, 2023                      /s/
                                                ANGELA CHUANG
17                                              JODI LINKER
                                                Attorneys for Defendant David DePape
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     STIPULATION RE: BUSINESS RECORDS
     3:22-CR-426-JSC                        2
